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                UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA
                   Case No. 20-cr-147 (ADM/LIB)
 UNITED STATES OF AMERICA,

                        Plaintiff,
                                           GOVERNMENT’S MOTION FOR
                                           DISCOVERY PURSUANT TO
         v.
                                           FEDERAL RULES OF CRIMINAL
                                           PROCEDURE 16(b), 12.1, 12.2, 12.3
 AUGUSTUS QUINTRELL LIGHT,
                                           AND 26.2
                        Defendant.

         The United States of America, by and through its attorneys, Erica H.

MacDonald, United States Attorney for the District of Minnesota, and Alexander D.

Chiquoine and Ruth S. Shnider, Assistant United States Attorneys, hereby moves the

Court:

         A.      For an order requiring the Defendant, pursuant to Rule 16(b) of the

Federal Rules of Criminal Procedure, to disclose and to permit inspection and copying

of the following:

                 1.    Documents and Tangible Objects: All books, papers, documents,

photographs, tangible objects, or copies or portions thereof, which are within the

possession, custody, or control of the Defendants and which the Defendant intends to

introduce as evidence in chief at the trial of the above captioned matter.

                 2.    Reports of Examinations and Tests: All results and reports of

physical or mental examinations and of scientific tests or experiments made in

connection with the above captioned matter, or copies thereof, within the possession

or control of the Defendant, which the Defendant intends to introduce as evidence in
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chief at the trial of the above captioned matter or which were prepared by a witness

whom the Defendant intends to call at trial.

              3.       Expert Testimony:    A written summary of testimony the

Defendant intends to use under Rules 702, 703 and 705 of the Federal Rules of

Evidence as evidence at trial. This summary must describe the opinions of the

witnesses, the bases and reasons therefore, and the witnesses’ qualifications. There

is no specific timing requirement included in Rule 16(a)(1)(G). However, the Advisory

Committee’s Note provides that “it is expected that the parties will make their

requests and disclosures in a timely fashion.”       Fed. R. Crim. P. 16 Advisory

Committee’s Note, 1993 Amendments. The government respectfully requests

that the Court order that expert disclosures for both parties, if any, be made

30 days before trial. Such a timing requirement allows the parties sufficient notice

of the expected testimony and time to prepare a focused cross-examination of the

expert. See id. Such an order would also provide the opposing party ample time to

obtain a rebuttal expert and prepare a rebuttal report in advance of trial.

Accordingly, the government also requests that any rebuttal experts be

noticed, and any rebuttal expert disclosures be produced to the opposing

party, no later than 10 days before trial.

      B.      Alibi:    For its order pursuant to Rule 12.1 of the Federal Rules of

Criminal Procedure requiring the Defendant, if he intends to claim alibi as a defense,

to state the specific place or places at which the Defendant claims to have been at the

time of the alleged offenses in the above captioned matter and the names and


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addresses of the witnesses upon whom the Defendant intends to rely to establish such

alibi.

         C.      Insanity Defense/Mental Illness: For its order pursuant to Rule 12.2 of

the Federal Rules of Criminal Procedure requiring the Defendant, if he intends to

rely upon the defense of insanity or introduce expert testimony relating to a mental

disease or defect or any other mental condition of the defendant bearing upon the

issue of guilt, to give notice to the government no later than the date of the first

hearing on pretrial motions.

         D.      Public Authority: For its order pursuant to Rule 12.3 of the Federal

Rules of Criminal Procedure requiring the Defendant, if he intends to rely upon a

defense of actual or believed exercise of public authority on behalf of a law

enforcement agency or federal intelligence agency at the time of the offense, to give

notice to the government and the Court no later than the date of the first hearing on

pretrial motions.

         E.      Witness Statements: For its order pursuant to Rule 26.2 of the Federal

Rules of Criminal Procedure requiring the Defendant to produce all statements in his

possession or control of any witness that the Defendant calls in connection with a

suppression hearing, detention hearing, trial, or sentencing.




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Dated: August 5, 2020                    Respectfully Submitted,

                                         ERICA H. MacDONALD
                                         United States Attorney

                                         /s/ Alexander Chiquoine

                                   BY:   ALEXANDER D. CHIQUOINE
                                         RUTH S. SHNIDER
                                         Assistant U.S. Attorneys




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